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 7                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF WASHINGTON
 8                                   AT SEATTLE
 9
10 UNITED STATES OF AMERICA, )
                                 )
11                   Plaintiff,  )                CASE NO.      07-328M
                                 )
12         v.                    )
                                 )
13                               )                DETENTION ORDER
    THUY THI NGOC NGUYEN,        )
14                               )
                Defendant.       )
15 ______________________________)
16 Offense charged:
17            Count I:      Conspiracy to Manufacture Marijuana, in violation of Title 21,
18                          U.S.C., Sections 841(a) and 841(b)(1)(A).
19   Date of Detention Hearing: July 12, 2007
20            The Court, having conducted a contested detention hearing pursuant to Title 18
21   U.S.C. § 3142(f), and based upon the factual findings and statement of reasons for detention
22   hereafter set forth, finds that no condition or combination of conditions which the defendant
23   can meet will reasonably assure the appearance of the defendant as required and the safety
24   of any other person and the community. The Government was represented by Lisca
25   Borichewski. The defendant was represented by Allen Ressler.
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 1        FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
 2            (1)    There is probable cause to believe the defendant committed the
 3                   conspiracy to manufacture marijuana offense. The maximum penalty is
 4                   in excess of ten years. There is therefore a rebuttable presumption
 5                   against the defendant’s release based upon both dangerousness and flight
 6                   risk, under Title 18 U.S.C. § 3142(e).
 7            (2)    The alleged offense includes six marijuana grow houses, where
 8                   reportedly two thousand marijuana plant and root balls were found along
 9                   with grow operation equipment. At the residence where her parents
10                   reside, documents tied to the grow houses were found. The same
11                   residence was proffered to the Court as an available option to the
12                   defendant if released.
13            (3)    A firearm was found at the residence she shares with her boyfriend who
14                   was arrested in another state. An investigation of an alleged homicide
15                   using the same caliber weapon as found in the defendant’s residence is
16                   ongoing, with witnesses being interviewed by state and federal
17                   authorities. At least one witness named the defendant as involved.
18            (4)    The defendant is unemployed.
19 Based upon the foregoing information which is also consistent with the recommendation
20 of detention by U.S. Pre-trial Services, it appears that there is no condition or
21 combination of conditions that would reasonably assure future Court appearances and/or
22 the safety of other persons or the community.
23            It is therefore ORDERED:
24            (l)    The defendant shall be detained pending trial and committed to the
25                   custody of the Attorney General for confinement in a correction facility
26                   separate, to the extent practicable, from persons awaiting or serving

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 1               sentences or being held in custody pending appeal;
 2         (2)   The defendant shall be afforded reasonable opportunity for private
 3               consultation with counsel;
 4         (3)   On order of a court of the United States or on request of an attorney for
 5               the Government, the person in charge of the corrections facility in which
 6               the defendant is confined shall deliver the defendant to a United States
 7               Marshal for the purpose of an appearance in connection with a court
 8               proceeding; and
 9         (4)   The clerk shall direct copies of this order to counsel for the United
10               States, to counsel for the defendant, to the United States Marshal, and to
11               the United States Pretrial Services Officer.
12         DATED this 12th day of July, 2007.


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                                                    MONICA J. BENTON
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                                                    United States Magistrate Judge
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     DETENTION ORDER
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